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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                      8:16CR204

       vs.
                                                                        ORDER
CRAIG HOLCOMB,

                      Defendant.


       This matter is before the court on the defendant's motion for a 30-day extension of time
in which to file pretrial motions [58]. Upon review of the file, the court finds that a 14-day
extension should be granted.


       IT IS ORDERED that the MOTION TO EXTEND TIME TO FILE PRETRIAL
MOTIONS [58] is granted, in part, as follows:
       1.      The deadline for filing pretrial motions is extended to October 31, 2016.
       2.      In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between October 17, 2016 and October 31, 2016, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason
that counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).




       Dated this 18th day of October, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
